O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence R eduction



                                       U NITED STATES D ISTRICT C OURT
                                                                          for the

                                                        Western District of North Carolina

                     United States of America                               )
                                v.                                          )
             ARMONDO ALVARADO-QUEZADA
                                                                            )   Case No:    3:03CR231-03
           a/k/a(s) "Jimmy" and Jaime Humberto Perez
                                                                            )
           True Name: Jaime Humberto Perez Barragan                             USM No: 19433-058
                                                                            )
Date of Previous Judgment: November 3, 2005                                     Pro Se (previously Lucky Osho)
(Use Date of Last Amended Judgment if Applicable)                           )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of               months is reduced to                            .

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    31                Amended Offense Level:                                               31
Criminal History Category: VI                Criminal History Category:                                           VI
Previous Guideline Range:  188 to 235 months Amended Guideline Range:                                             188       to 235   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):   The application of Amendment 706 results in no change to the Base or Total Offense Levels or the
                     advisory guideline range since the defendant was not held accountable for crack cocaine, only
                     cocaine hydrochloride (powder cocaine) and marijuana. Therefore, no reduction in the defendant's
                     sentence is warranted.


III. ADDITIONAL COMMENTS
Note: As of this date, the November 1, 2010, amendments for crack cocaine are not retroactive; therefore, no reduction
in the defendant's sentence is warranted as a result of these amendments, in addition to the fact that this case did not
involve crack cocaine.


Except as provided above, all provisions of the judgment dated                      November 3, 2005 ,   shall remain in effect.
IT IS SO ORDERED .

Order Date:          May 6, 2011


Effective Date:
                       (if different from order date)



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